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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

 CENTER FOR BIOLOGICAL
 DIVERSITY,

               Plaintiff,
                                                     CASE NO. 20-2554-ECT-BRT
          v.

 SARAH STROMMEN, in her official
 capacity as Commissioner of the Minnesota        LOCAL RULE 7.1 WORD COUNT
 Department of Natural Resources,                 CERTIFICATE OF COMPLIANCE

               Defendant,


      Peter J. Farrell certifies the following:

      I am counsel for Defendant Sarah Strommen, in her official capacity as

Commissioner of the Minnesota Department of Natural Resources (the DNR), in this

matter.

      I certify that the reply memorandum complies with the limits in LR 7.1(f) and with

the type-size limit of LR 7.1(h). The reply memorandum contains 3,734 words, as counted

by Microsoft Word for Office 365, including all text. In addition, the combined word count

of the supporting memorandum and the reply memorandum is 9,594 words, which

complies with the combined limit of 12,000 words in LR 7.1(f)(1)(B).


Dated: May 25, 2021
                                             KEITH ELLISON
                                             Attorney General
                                             State of Minnesota


                                             /s/ Pete Farrell
                                             PETER J. FARRELL

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                              the Minnesota Department of Natural
                              Resources




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